                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION


WILLIAM FEEHAN and DERRICK VAN ORDEN,

               Plaintiffs,
       v.

 WISCONSIN ELECTIONS COMMISSION,
 and its members ANN S. JACOBS, MARK
                                                                           Case No.: 20CV1771
 L. THOMSEN, MARGE BOSTELMANN,
 JULIE M. GLANCEY, DEAN KNUDSON,
 ROBERT F. SPINDELL, JR., in their official
 capacities, GOVERNOR TONY EVERS,
 in his official capacity,

                Defendants.

                                 NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that Davida Brook of the law firm of Susman Godfrey L.L.P.

have been retained by defendant Governor Tony Evers in this action. Please serve copies of all

papers in this action on the undersigned at the address set forth below.

       Respectfully submitted this 4th day of December 2020.


                                              /s/ Davida Brook
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